        Case 1:21-cr-00175-TJK Document 342 Filed 04/19/22 Page 1 of 17




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
                                             :      No. 21-cr-175-1 (TJK)
          v.                                 :
                                             :
                                             :
ETHAN NORDEAN,                               :
                                             :
                      Defendant.             :

    GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION FOR RELEASE
                    PURSUANT TO 18 U.S.C. § 3164

       Defendant Nordean has not demonstrated that he should be released pursuant to 18 U.S.C.

§ 3164. As he acknowledges, and as the statutory language makes clear, if periods of delay are

excluded under 18 U.S.C. § 3161(h), those periods are also excluded from § 3164’s 90-day limit

on pretrial incarceration. Nordean’s Speedy Trial calculation, which concludes that more than 90

days have elapsed and thus Nordean must be released, is riddled with errors and ignores events

that automatically trigger Speedy Trial exclusions under subsection (h), such as the filing of

motions and interlocutory appeals. A fulsome analysis of the Court’s findings, the Chief Judge’s

standing orders related to the COVID-19 pandemic, and the actions taken by the parties that toll

the Speedy Trial clock demonstrates that zero nonexcludable days have elapsed since the defendant

was ordered detained. His motion should accordingly be denied.

                                   LEGAL BACKGROUND

       The Speedy Trial Act specifies that the trial of a detained defendant shall be accorded

priority, and that it shall commence no later than 90 days following the beginning of continuous

pretrial detention. See 18 U.S.C. § 3164(a) & (b). “The periods of delay enumerated in [18 U.S.C.

§ 3161(h)] are excluded in computing the time limitation specified in this section.” § 3164(b). If
         Case 1:21-cr-00175-TJK Document 342 Filed 04/19/22 Page 2 of 17




the 90-day limit is passed—after considering delays excludable under § 3161(h)—the Court must

review the defendant’s condition of release, and “no detainee … shall be held in custody pending

trial after the expiration of such ninety-day period.” See § 3164(c).

       “Subsection (h)(1) requires the automatic exclusion of any period of delay resulting from

other proceedings concerning the defendant, including but not limited to periods of delay resulting

from eight enumerated subcategories of proceedings.” Bloate v. United States, 559 U.S. 196, 203

(2010) (emphasis added) (cleaned up). Those enumerated subcategories include interlocutory

appeals, the time between the filing of any motion through the conclusion of any hearing on that

motion, and a time period, not to exceed 30 days, during which any motions are actually under

advisement by the Court. See 18 U.S.C. § 3161(h)(1)(C), (D), & (H). Subsection (h)(7), by

contrast, requires the Court to make findings that the ends of justice served by a continuance

outweigh the interests of the defendant and the public in a speedy trial. § 3161(h)(7)(A).

       “The amount of time excluded [under § 3161(h)(1)(D)] depends in part on whether the

district court holds a hearing on the motion. If the court holds a hearing, the Act excludes the

period of time between the filing of the motion and the conclusion of the hearing, whether or not

the amount of delay that occurred was reasonable. If the court does not hold a hearing on the

motion, the Act excludes the period of time between the filing of the motion and the day the court

receives all the submissions it reasonably expects in relation to the motion.” United States v. Rice,

746 F.3d 1074, 1080 (D.C. Cir. 2014) (cleaned up). Both the day a motion is filed and the day the

Court acts on it are excluded from the Speedy Trial Act computation. See United States v. Fonseca,

435 F.3d 369, 372 (D.C. Cir. 2006); see also, e.g., United States v. (Hernando) Yunis, 723 F.2d

795, 797 (11th Cir. 1984) (“In calculating includable time, both the date on which an event occurs

or a motion is filed and the date on which the court disposes of a motion are excluded”).



                                                 2
         Case 1:21-cr-00175-TJK Document 342 Filed 04/19/22 Page 3 of 17




       In making findings pursuant to 18 U.S.C. § 3161(h)(7)(A), the D.C. Circuit’s “fundamental

concern” is that the Court seriously weigh “the need for delay against the need for a speedy trial.”

United States v. Rice, 746 F.3d 1704, 1079 (D.C. Cir. 2014), citing United States v. Bryant, 523

F.3d 349, 361 (D.C. Cir. 2008). “The findings requirement [of 18 U.S.C. § 3161(h)(7)(A)] does

not call for magic words.” Rice, 746 F.3d at 1079.

       In a multi-defendant case, if time is excludable as to one defendant under § 3161(h), it is

excludable as to all defendants. See, e.g., United States v. Edwards, 627 F.2d 460, 461 (D.C. Cir.

1980) (18 U.S.C. § 3161(h)(6) 1 “is crucial in a case involving multiple defendants because it

provides that an exclusion applicable to one defendant applies to all codefendants”); United States

v. Garrett, 720 F.2d 705, 709-10 (D.C. Cir. 1983) (time spent litigating co-defendant’s bond

motion excludable as to nonmoving defendant).

                                          ARGUMENT

    A. Speedy Trial Clock Calculation

       Zero non-excludable days have elapsed between the date when Nordean was ordered

detained on April 19, 2021, and the date of this filing. 2 Nordean focuses on the Court’s interests-

of-justice findings, making only a passing reference to his motion to dismiss in a footnote. His

calculation thus ignores Nordean’s numerous motions and supplements, along with two




1
       Then codified at § 3161(h)(7).
2
       Nordean’s STA calculation begins on April 6, 2021. For the purposes of the present
motion, which concerns whether Nordean should be released from pretrial detention, the relevant
inquiry is whether 90 non-excludable days have elapsed since he was detained, which the Court
ordered on April 19, 2021. See 18 U.S.C. § 3164(b) (The trial . . . shall commence not later than
ninety days following the beginning of such continuous detention . . .) (emphasis added). The
government’s calculation accordingly starts with the Court’s April 19 finding.

                                                 3
           Case 1:21-cr-00175-TJK Document 342 Filed 04/19/22 Page 4 of 17




interlocutory appeals he filed. It similarly ignores the many motions filed by his co-defendants

and the government, all of which toll the Speedy Trial clock. It likewise ignores the findings made

by the Chief Judge regarding criminal trials delayed due to the ongoing COVID-19 pandemic. In

fact, Nordean and his co-defendants have filed so many motions and interlocutory appeals that,

even if neither this Court nor the Chief Judge had made any findings under 18 U.S.C.

§ 3161(h)(7)(A) (or if some of those findings were in error, as Nordean incorrectly suggests), it is

still the case that zero nonexcludable days have run since the Court ordered Nordean detained. A

fulsome accounting of the parties’ actions that affect the Speedy Trial clock is below. 3

       •    On April 19, 2021, the day the defendant was ordered detained, the Court found that
            the time from April 9 through May 4, 2021, was excludable under 18 U.S.C.
            § 3161(h)(7)(A).

       •    As of April 19, 2021, the government’s motion to revoke the magistrate’s order
            releasing co-defendant Rehl was pending. That motion remained pending until the
            Court granted it on the day of the hearing, June 30, 2021. That entire time is thus
            excludable under 18 U.S.C. § 3161(h)(1)(D).

       •    On April 21 and 22, 2021, Biggs and Nordean, respectively, filed notices of appeal
            regarding the Court’s detention decision. Those appeals were resolved by the D.C.




3
        In addition to the actions taken and findings made in this specific case, the entire time
between Nordean’s arrest and at least February 18, 2022, has been tolled under 18 U.S.C.
§ 3161(h)(7)(A) due to the ongoing pandemic. In a series of standing orders, the Chief Judge has
determined that Speedy Trial Act exclusion is appropriate “for those criminal cases that cannot be
tried consistent with health and safety” through February 18, 2022. Standing Order No. 22-04;
see also Standing Order Nos. 20-9, 20-19 20-29, 20-62, 20-68, 20-89, 20-93, 21-10, 21-47, 21-62,
21-79, and 21-83 (BAH). As this Court noted in scheduling the May 18, 2022, trial date, that date
was, as of September 2021, the earliest available date at which this case could be tried consistent
with the health and safety protocols in place in the courthouse. See Sept. 21, 2021, Hr’g Tr. at 67;
see also Nov. 3, 2021, Hr’g Tr. at 31 (finding time tolled until December 7, 2021, in part because
the Court “simply cannot accommodate the trial in this matter -- a multi-defendant trial scheduled
to last six weeks -- and, consistent with the limitations that have been put in place in this
courthouse”). Accordingly, this case could not be tried consistent with health and safety protocols
prior to February 18, 2022, so those standing orders serve to toll the Speedy Trial clock until that
date.

                                                 4
           Case 1:21-cr-00175-TJK Document 342 Filed 04/19/22 Page 5 of 17




            Circuit on August 18, 2021. 4 The entire time between those two dates is excludable
            pursuant to 18 U.S.C. § 3161(h)(1)(C).

       •    On May 3, 2021, co-defendant Donohoe filed a motion to revoke his detention order,
            which was pending through June 23, 2021, the date it was heard by this Court. The
            entirety of that time is excludable pursuant to 18 U.S.C. § 3161(h)(1)(D).

       •    On May 4, 2021, the Court found that the time from that date through June 3, 2021,
            was excludable under 18 U.S.C. § 3161(h)(7)(A).

       •    On May 19, 2021, Nordean filed a motion for a bill of particulars and to compel
            discovery. This motion was argued on July 15, 2021, and resolved on August 9, 2021,
            less than 30 days after the hearing date. The entire period is thus excludable under 18
            U.S.C. §§ 3161(h)(1)(D) & (h)(1)(H).

       •    On June 2, 2021, the government filed a motion for a protective order. This motion
            was mooted on June 28, 2021, when Nordean agreed to an interim order. The entire
            time period during which that motion was pending is excludable under 18 U.S.C.
            § 3161(h)(1)(D).

       •    On June 3, 2021, the Court found that time between that date and July 15, 2021, was
            excludable under 18 U.S.C. § 3161(h)(7)(A).

       •    On June 3, 2021, Nordean filed a motion to dismiss the case and for leave to file excess
            pages. The motion was argued on September 21, 2021. On October 8, 2021, Nordean
            filed a “Notice of Multiple Plea Agreements,” which he stated was relevant to his
            motion to dismiss. He followed this with a “Notice of January 6th Plea Agreement
            Database,” which he also stated was relevant to his Motion to Dismiss. On November
            3, 2021, the Court ordered supplemental briefing on the motion, which was to conclude
            on December 3, 2021, although Nordean filed a surreply on December 6. Rehl, who in
            the interim joined the motion, filed supplements to it on November 19 and December
            13, 2021. The Court resolved the motion on December 14, 2021. For the reasons
            explained more fully below, the entirety pendency of Nordean’s Motion to Dismiss is
            excludable under 18 U.S.C. §§ 3161(h)(1)(D) & (h)(1)(h).

       •    On July 1, 2021, co-defendant Biggs filed a motion to join Nordean’s motion to
            dismiss, which was resolved on July 15, 2021. That entire time is excludable under 18
            U.S.C § 3161(h)(1)(D).



4
        The date at which an interlocutory appeal no longer tolls the clock is the date the mandate
issues from the Court of Appeals. See United States v. Felton, 811 F.2d 190, 198 (3d Cir. 1987);
United States v. (Fawaz) Yunis, 705 F. Supp. 33, 35 (D.D.C. 1989) (“Presently, the speedy trial
clock is stopped, but it will resume once the pending motions have been ruled upon or when the
mandate is issued on the pending interlocutory appeal, whichever occurs later”) (emphasis added).
                                                 5
           Case 1:21-cr-00175-TJK Document 342 Filed 04/19/22 Page 6 of 17




       •    On July 6, 2021, the government filed a motion to seal certain detention exhibits
            regarding defendant Donohoe, which was resolved on July 8, 2021. That entire time is
            excludable under 18 U.S.C. § 3161(h)(1)(D).

       •    On July 6, 2021, defendant Donohoe filed a notice of appeal of this Court’s detention
            decision, which was resolved on November 22, 2021. The entirety of that time period
            is excludable under 18 U.S.C. § 3161(h)(1)(C).

       •    On July 15, 2021, the Court excluded time between that date and September 21, 2021,
            under 18 U.S.C. § 3161(h)(7)(A).

       •    On July 20, 2021, Nordean filed a motion to reopen the detention hearing, which was
            argued on September 13, 2021. Nordean filed a supplement to that motion after the
            hearing, on September 21, 2021; a Notice of alleged Brady material produced after that
            hearing, on October 5, 2021; and a notice regarding Judge Lamberth’s contempt order
            against the D.C. Jail, which he stated was relevant to his bond motion, on October 13,
            2021. He filed a declaration from Judy Nordean regarding Nordean’s proposed release
            conditions on November 3, 2021. The Court resolved the defendant’s motion on
            December 14, 2021. For the reasons stated below, the entirety of the time between July
            20 and December 14, 2021, is excluded pursuant to 18 U.S.C. §§ 3161(h)(1)(D) &
            (h)(1)(H). 5

       •    On July 29, 2021, Nordean filed a motion to remove the sensitivity designation from a
            portion of the evidence produced in discovery. Nordean filed his reply brief in support
            of that motion on August 19, 2021. The Court heard argument on September 13, 2021,
            ordered a supplemental response from the government on September 30, 2021, and it
            resolved the motion on October 11, 2021. That entire time is excludable under 18
            U.S.C. § 3161(h)(1)(D) & (h)(1)(H).

       •    On August 8, 2021, defendant Biggs filed a motion to reopen his detention hearing.
            The Court held a hearing on September 13, 2021, contemporaneous with the hearing
            on Nordean’s motion. Biggs filed supplements to this motion on September 27 and
            October 4, 2021. The Court resolved Biggs’ motion on December 14, 2021. For the




5
        Even if the Court disagrees that the entire period is excluded until December 14, the earliest
date that is not tolled due to Nordean’s bond motion is December 3, 2021, 30 days after Nordean
filed his last post-hearing supplement on the motion. In any event, even if the Speedy Trial Clock
was not tolled from December 3 to December 14 by Nordean’s bond motion, it was tolled by many
other actions taken by Nordean and others during that period as laid out herein.

                                                  6
           Case 1:21-cr-00175-TJK Document 342 Filed 04/19/22 Page 7 of 17




            reasons stated below, the entirety of the time period between August 8 and December
            14, 2021, is excluded pursuant to 18 U.S.C. §§ 3161(h)(1)(D) & (h)(1)(H). 6

       •    On August 23, 2021, the government filed a motion to transport Rehl to the District of
            Columbia. The Court took the matter under advisement on September 21, 2022, and
            the matter seems to have been resolved on January 11, 2022, after Rehl’s then-new
            attorney weighed in on his requested incarceration location. Thus, the time between
            August 23, 2021, and at least October 21, 2021, is excludable pursuant to 18 U.S.C.
            §§ 3161(h)(1)(D) & (h)(1)(H).

       •    On August 26, 2021, defendant Rehl’s then-attorney Shaka Johnson filed a motion to
            withdraw as counsel, which was resolved on September 6, 2021. That entire time is
            excludable pursuant to 18 U.S.C. § 3161(h)(1)(D).

       •    On September 14, 2021, Nordean filed a motion to access sealed portions of the
            previous day’s hearing, which the Court resolved on September 16, 2021. That entire
            period is excludable pursuant to 18 U.S.C. § 3161(h)(1)(D).

       •    On September 21, 2021, the Court found that time was excludable from that date until
            October 26, 2021, pursuant to 18 U.S.C. § 3161(h)(7)(A).

       •    On September 25, 2021, Rehl filed a motion for a bill of particulars, which was fully
            briefed as of October 15, 2021. That motion is still pending. The motion thus tolls the
            clock from September 25 to at least November 14, 2021, pursuant to 18 U.S.C.
            §§ 3161(h)(1)(D) & (h)(1)(H).

       •    On September 26, 2021, Rehl filed a motion to issue a subpoena to U.S. Capitol Police.
            On November 2, 2021, he agreed that the motion was moot. See Nov. 2, 2021, Hr’g
            Tr. 34:16-35:5. This motion thus tolled the Speedy Trial clock from September 26 to
            November 2, 2021, under 18 U.S.C. § 3161(h)(1)(D).

       •    On September 30, 2021, Rehl moved to reopen the detention hearing. That motion was
            argued on November 2, 2021. The Court resolved it on December 14, 2021. The




6
        Similar to Nordean’s motion to reopen the detention hearing, even if the Court disagrees
that the entire time period is excluded until December 14, the earliest date that is not tolled due to
Biggs’ bond motion is November 13, 2021, 30 days after Biggs filed his last post-hearing
supplement on the motion. In any event, even if the Speedy Trial Clock was not tolled from
November 3 to December 14 by Biggs’ bond motion, it was tolled by many other actions taken by
Biggs and others during that time period.

                                                  7
           Case 1:21-cr-00175-TJK Document 342 Filed 04/19/22 Page 8 of 17




            motion thus tolled the clock from September 30 to at least December 3, 2021, pursuant
            to 18 U.S.C. §§ 3161(h)(1)(D) & (h)(1)(H). 7

       •    On October 1, 2021, Rehl moved for a waiver of formatting rules to allow tables of
            contents and authorities. The Court resolved that motion on October 4, 2021. That
            entire time is excludable under 18 U.S.C. § 3161(h)(1)(D).

       •    On October 7, 2021, the government filed a motion for an extension of time, which was
            resolved on October 8, 2021. That time period is excludable under 18 U.S.C.
            § 3161(h)(1)(D).

       •    On October 10, 2021, defendant Rehl filed a motion to compel discovery, which was
            fully briefed as of October 15, 2021. That motion was mooted at the November 2,
            2021, motions hearing regarding Mr. Rehl. See Nov. 2, 2021, Hr’g Tr. 33:4-34:7. The
            motion thus tolled the clock from September 25 to November 2, 2021, pursuant to 18
            U.S.C. §§ 3161(h)(1)(D).

       •    On October 11, 2021, the government filed a motion to modify a briefing schedule,
            which was resolved on October 13, 2021. That entire time period is excludable under
            18 U.S.C. § 3161(h)(1)(D).

       •    On November 3, 2021, the Court found that time was excludable from that date to
            December 7, 2021, nunc pro tunc to October 26, 2021.

       •    On November 18, 2021, Rehl filed a motion to join Nordean’s motion to dismiss, which
            was resolved on November 19, 2021. That entire period is excludable under 18 U.S.C
            § 3161(h)(1)(D).

       •    On November 23, 2021, Rehl filed a motion for discovery of grand jury minutes. That
            motion was pending until it was withdrawn on December 21, 2021. See ECF 256. The
            entirety of that time frame is excludable pursuant to 18 U.S.C. § 3161(h)(1)(D).

       •    On November 25, 2021, Rehl filed a motion to compel alleged Brady material. That
            motion was pending until it was withdrawn on December 21, 2021. See ECF 256. The
            entirety of that time frame is excludable pursuant to 18 U.S.C. § 3161(h)(1)(D).




7
        For the reasons stated below, regarding Nordean’s and Biggs’ motions to reopen the
detention hearing and the Court’s consideration of the arguments of co-counsel and how the
detention decision was intertwined, in the Court’s mind, with its decision on Nordean’s motion to
dismiss, Rehl’s motion to reopen detention likely tolled the clock through its resolution on
December 14, 2021.
                                                8
           Case 1:21-cr-00175-TJK Document 342 Filed 04/19/22 Page 9 of 17




       •    On December 6, 2021, the government filed a motion for an extension of time to
            respond to various motions filed by Rehl, which was resolved on December 8, 2021.
            That entire period is excludable under 18 U.S.C. § 3161(h)(1)(D).

       •    On December 9, 2021, Rehl’s then-attorney Jonathon Moseley filed a motion to
            withdraw as counsel, which was resolved on December 14, 2021. That entire period is
            excludable under 18 U.S.C. § 3161(h)(1)(D).

       •    On December 14, 2021, the Court found that time was excludable from that date
            through January 11, 2022, under 18 U.S.C. § 3161(h)(7)(A).

       •    On December 22, 2021, Nordean filed a motion for release pursuant to 18 U.S.C.
            § 3142(i) 8, which was argued on January 11, 2022, and resolved on January 21, 2022.
            That entire time is excludable pursuant to 18 U.S.C. §§ 3161(h)(1)(D) & (h)(1)(H).

       •    On December 27, 2021, Nordean and Biggs each filed a notice of appeal regarding this
            Court’s denial of his motion to reopen the detention hearing. The appeals are still
            pending because no mandate has yet issued. The entire period of December 27 through
            the present is excludable under 18 U.S.C. § 3161(h)(1)(C).

       •    On December 28, 2021, Rehl filed a notice of appeal regarding this Court’s denial of
            his motion to reopen the detention hearing. That appeal is still pending, and thus still
            tolling the Speedy Trial clock under 18 U.S.C. § 3161(h)(1)(C), as of the date of filing.

       •    On December 29, 2021, Nordean filed a motion to compel discovery regarding alleged
            selective prosecution, as well as another motion under seal. Those motions were argued
            on February 8, 2021, and remain pending. 9 Time is thus excludable under both of those
            motions through at least March 10, 2022, under 18 U.S.C. § 3161(h)(1)(D) & (h)(1)(H).




8
        See Jan. 11, 2022, Hr’g Tr. at 23:21-23:24, where the Court agreed to treat Nordean’s and
Biggs’ responses to a government filing regarding access to counsel and discovery as motions for
release pursuant to 18 U.S.C. § 3142(i).
9
        The government’s position is that the under-seal motion continues to toll the Speedy Trial
Clock, even though more than 30 days have elapsed since the hearing, because it has not yet been
taken under advisement. Indeed, there was post-hearing briefing on the matter, with another
hearing contemplated on April 21, 2022. The Court need not reach that issue, however, because
the Speedy Trial clock has been tolled for several other reasons, as laid out herein, for that period.
If the Court requires supplemental briefing or argument on the limited topic of whether Nordean’s
under-seal motion continues to toll the Speedy Trial clock, the government would be happy to
provide that briefing or make those arguments under seal.

                                                  9
        Case 1:21-cr-00175-TJK Document 342 Filed 04/19/22 Page 10 of 17




       •    On December 30, 2021, Biggs filed a motion for release pursuant to 18 U.S.C.
           § 3142(i), which was argued on January 11, 2022, and resolved on January 21, 2022.
           That entire time is excludable pursuant to 18 U.S.C. §§ 3161(h)(1)(D) & (h)(1)(H).

       •   On February 8, 2022, the Court found that time was excludable from that date through
           March 8, 2022, under 18 U.S.C. § 3161(h)(7)(A).

       •   On March 6, 2022, the government filed a motion to continue a status conference,
           which was resolved on March 7, 2022. This time period is excludable under 18 U.S.C.
           § 3161(h)(1)(D).

       •   On March 8, 2022, the government moved to detain co-defendant Tarrio pending trial,
           before a magistrate judge in the Southern District of Florida. That motion was resolved
           on March 15, 2022. That entire time is excludable under 18 U.S.C. § 3161(h)(1)(D) &
           (E).

       •   On March 21, 2022, the government filed a motion to vacate the trial date and exclude
           time under the Speedy Trial Act, which was resolved on April 5, 2022. This time period
           is excludable under 18 U.S.C. § 3161(h)(1)(D).

       •   On March 22, 2022, the Court found that the time period between that date and April
           5, 2022, was excludable under 18 U.S.C. § 3161(h)(7)(A).

       •   On March 25, 2022, Nordean filed a motion to sever defendants, which was resolved
           on April 5, 2022. This time period is excludable under 18 U.S.C. § 3161(h)(1)(D).

           On April 5, 2022, the Court found that the time between that date and April 21, 2022,
           was excludable under the 18 U.S.C. § 3161(h)(7)(A).

       •   On April 5, 2022, Nordean filed the instant motion for release under 18 U.S.C. § 3164,
           which remains pending. Time is thus currently tolling pursuant to 18 U.S.C.
           § 3161(h)(1)(D).


       The aggregate effect of the above actions is that every day between April 19, 2021, and the

date of filing is excluded from calculation under the Speedy Trial Act, pursuant 18 U.S.C. §

3161(h)(1)(C), (h)(1)(D), (h)(1)(H), (h)(6), (h)(7)(A), or some combination thereof. 10 Nordean’s



10
        For the Court’s convenience, the government has attached a color-coded chart hereto,
labeled as Exhibit 1, which shows each day between April 19, 2021, and April 19, 2022, and which
parties’ action(s) served to toll the time on those days.

                                               10
         Case 1:21-cr-00175-TJK Document 342 Filed 04/19/22 Page 11 of 17




motion not only largely ignores tolling provisions other than subsection (h)(7)(A), but the

arguments it does make are legally unsupported.

     B. Nordean’s Motion to Dismiss, along with Nordean’s and Biggs’ Motions to Reopen
        the Detention Hearing, Continued to Toll Time After the Motions Hearings.


     Nordean’s motions to dismiss and to reopen bail tolled the Speedy Trial clock from the date

they were filed through the date the Court decided them in December 2021.                 18 U.S.C.

§ 3161(h)(1)(D) serves to toll the Speedy Trial clock only through the time the motion is actually

taken under advisement, at which point the 30-day limit enumerated in § 3161(h)(1)(H) controls.

Nordean seems to contend that the motions were automatically taken under advisement when they

were argued. See Mot. at 6, n.4. This position is incorrect, and indeed it is foreclosed by the case

he cites in support of it. 11 In Henderson v. United States, the Supreme Court considered whether

the language in § 3161(h)(1)(D) 12 “excludes time after a hearing on a motion but before the district

court received all the submissions by counsel it needs to decide that motion,” and it decided that

post-hearing submissions continue to toll the Speedy Trial clock until all submissions are received.

See 476 U.S. 321, 330-31 (1986). Only once the Court receives all submissions is the motion

considered “under advisement” for the purposes of § 3161(h)(1)(H). See id. at 331 (“We therefore

hold that subsection [(H)] excludes time after a hearing has been held where a district court awaits

additional filings from the parties that are needed for proper disposition of the motion”).




11
        In addition to being incorrect legally, Nordean’s argument that his motion to dismiss no
longer tolled the clock after September 21 ignores the fact that even if the Court had fully taken
the matter under advisement that day, 30 additional days would be excludable under 18 U.S.C.
§ 3161(h)(1)(H).
12
       At the time Henderson was decided, the language now contained in 18 U.S.C.
§ 3161(h)(1)(D) was codified at § 3161(h)(1)(F), and the language now contained in
§ 3161(h)(1)(H) was codified at § 3161(h)(1)(J).
                                                 11
        Case 1:21-cr-00175-TJK Document 342 Filed 04/19/22 Page 12 of 17




       In this case, Nordean and his co-defendants wasted little time in filing post-hearing

documents for the Court’s consideration regarding both bond and the motion to dismiss. The Court

heard argument on the motion to dismiss on September 21, 2021. On October 8, 2021, Nordean

filed a notice of Multiple Government Plea Agreements, which he contended was relevant to the

Motion to Dismiss, and he followed that with another notice regarding a January 6th plea database

on October 13. On November 3, 2021, the Court ordered supplemental briefing on the motion,

which was not complete until December 6. Nordean’s motion to dismiss was thus not “under

advisement” for purposes of 18 U.S.C. § 3161(h)(1)(H) until December 6, 2021.

       Defendants Nordean and Biggs similarly filed supplements after their motions to reopen

bond proceedings were argued on September 13, 2021. Indeed, the Court anticipated further

briefing, entering an order after the hearing giving Biggs until September 16 to file a reply brief.

See Minute Order entered September 14, 2021. Biggs did not file that reply, but on September 27,

he did file a supplement to his bond motion, and he filed another supplement on October 4.

Nordean filed a supplement to his bond motion, a notice of alleged Brady material produced after

the detention hearing on October 5, a notice of Judge Lamberth’s contempt order against the

warden of the D.C. Jail on October 13, and a notice of additional release commitments on

November 3. In ruling on the defendants’ motions for release, the Court noted that it considered

these materials, along with the complex arguments presented in connection with Nordean’s motion

to dismiss, as, in the Court’s view, if it dismissed the obstruction charges, that “could have had a

material impact on a detention decision.” Dec. 14, 2021, Hr’g Tr. at 7-8. The Court additionally

considered briefing and argument presented by Rehl’s counsel in connection with Rehl’s motion

for release, noting the interrelated nature of the arguments in this conspiracy case. See id.




                                                12
           Case 1:21-cr-00175-TJK Document 342 Filed 04/19/22 Page 13 of 17




Accordingly, Nordean’s, Biggs’ and Rehl’s bond motions were also not “under advisement” until

December 6, 2021. 13

        C. The Court Properly Granted Continuances Pursuant to Section 3161(h)(7)(A).

           As described in more detail above, the Court made a series of findings that continuances

in this case were justified because the ends of justice served by the continuances outweighed the

interests of the public and the defendants in a speedy trial, as required under 18 U.S.C. § (h)(7)(A).

Nordean does not challenge the sufficiency of those findings from April 19, May 4, July 15,

September 21, November 3, and December 14, 2021. Mot. at 5-7. He also does not challenge the

sufficiency of the Court’s findings in that regard from February 8 or March 22, 2022. Mot. at 7-

8. 14



13
        The government acknowledges out-of-circuit precedent holding that the Speedy Trial Act
can be violated if a Court takes a motion under advisement for more than 30 days, and then
subsequently orders supplemental briefing. See United States v. Scott, 270 F.3d 30, 56 (1st Cir.
2001); United States v. Janik, 723 F.2d 537, 543-44 (7th Cir. 1983). Both cases are distinguishable
because Nordean and Biggs each continued to file supplements to the motions to dismiss and to
reopen the detention hearing in the time between the motions hearing and the Court’s order for
supplemental briefing on the motion to dismiss, and because Rehl joined the motion to dismiss
and filed briefing himself. Additionally, the time between the hearing and the Court’s request for
supplemental briefing was much shorter in this case than it was in Scott (124 days) and Janik (more
than three months). See Scott, 270 F.3d at 56. But even assuming arguendo that the Speedy Trial
clock was only tolled by Nordean’s motion to dismiss until October 21, 2021—30 days after the
hearing—the overall Speedy Trial calculation would not be affected because the clock was tolled
between October 21 and December 28, 2021, by a combination of Rehl’s motions, the Court’s
interests-of-justice findings, and the Chief Judge’s orders tolling time through February 18, 2022,
as laid out above.
14
       For some of these dates, Nordean represents that he is ordering the transcript. Should
Nordean challenge those findings, the government requests an opportunity to be heard.
Additionally, although Nordean does not challenge the Court’s findings on some of those dates,
he does challenge the Court’s ability to make ends-of-justice findings nunc pro tunc. The
government acknowledges out-of-circuit precedent holding that such findings are not permissible
under the Speedy Trial Act, as cited in Nordean’s motion. It does not appear that the D.C. Circuit
has decided whether nunc pro tunc tolling under § 3161(h)(1)(A) is permissible. However, this



                                                  13
        Case 1:21-cr-00175-TJK Document 342 Filed 04/19/22 Page 14 of 17




       The Court’s findings were sufficient at every turn. Nordean claims that the Court’s June 3

finding, the only one that he challenges, was insufficient because it “never stated that it considered

the required §3161(h)(7)(B) factors,” and because “complexity plus multiple defendants are not

enough for an ends-of-justice continuance over a defense objection,” Mot. at 6, citing United States

v. Koerber, 813 F.3d 1262, 1279 (10th Cir. 2016) and United States v. Theron, 782 F.2d 1510, 1513

(10th Cir. 1986). Nordean does not at all engage with the Court’s actual findings, which included

a finding that the time between June 3 and June 15 was excludable because “the ends of justice

that are served by taking such action outweigh the best interests of the public and the defendants

in a speedy trial.” June 3, 2021, Hr’g Tr. 28:10-28:15. The Court went on to recount its reasons

for doing so, including the overlap between the charged co-conspirators and other uncharged

persons, the number of persons arrested to date, and the nature of the discovery that was being

provided to Nordean and his co-defendants. Id., 28:15-29:22. Indeed, Biggs’ counsel has noted

that, even to watch ten percent of the video provided would require 62.5 days, without sleeping,

and that in a conspiracy case, many different videos would be relevant. See Jan. 11, 2022, Hr’g

Tr. at 24:23-25:19. The Court thus considered the required factors, and its findings were




Court does not need to resolve that question today, as the two relevant nunc pro tunc continuances
granted by the Court between April 19 and the present involved a total of 13 days—the seven days
between October 26 and November 3, 2021, and the six days between December 7 and 14, 2021.
For the former period, Nordean’s Motion to Dismiss was pending, as were his and Biggs’ motions
to reopen the detention hearing. Additionally, Rehl’s motions for a bill of particulars, for a
subpoena to the U.S. Capitol Police, to compel discovery, and to reopen his detention hearing were
pending. For the latter period, Nordean’s motion to dismiss, along with the aforementioned
motions to reopen detention were also pending. Additionally, Rehl’s motions for discovery of the
Grand Jury minutes and to compel alleged Brady material were pending for the entirety of the
period from December 7-14, 2021, and his motion to withdraw as counsel was pending for part of
it. Thus, even assuming arguendo that the Court could not grant an ends-of-justice continuance
nunc pro tunc, the overall Speedy Trial analysis would not be affected.

                                                 14
        Case 1:21-cr-00175-TJK Document 342 Filed 04/19/22 Page 15 of 17




appropriate and sufficient. See United States v. Rice, 746 F.3d 1074, 1079 (D.C. Cir. 2014)

(findings that included specifics about discovery and defendants awaiting extradition were

sufficient, even though the Court did not parrot the statutory language). The Court’s findings were

certainly more than “complexity plus multiple defendants,” as the defendant argues at 9. 15 In any

event, even if the findings were insufficient, once the Court grants an ends-of-justice continuance,

it has up to and including its ruling on a motion to dismiss to make the required findings. See

United States v. Bryant, 523 F.3d 349, 361 (D.C. Cir. 2008), citing Zedner v. United States, 547

U.S. 489, 507 (2006).

       D. Nordean’s Analysis Relies on an Inapplicable Case.

       Nordean’s reliance on United States v. Theron, 782 F.2d 1510, 1516 (10th Cir. 1986) is

misplaced. In addition to being nonbinding on this Court, that case concerned the “reasonable

delay” provision now codified at 18 U.S.C. § 3161(h)(6), not the automatic tolling provisions of

§ 3161(h)(1), the ends-of-justice findings the Court made pursuant to § 3161(h)(7)(A), nor the

pandemic-related tolling of the Chief Judge’s standing orders, which also tolled time pursuant to

§ 3161(h)(7)(A). See id. at 1516.

       The government cited 18 U.S.C. § 3161(h)(6) in its motion to vacate the May 22 trial date,

ECF 314. It also cited the need to provide discovery and requested that the Court toll the Speedy

Trial clock pursuant to § 3161(h)(7)(A). Prior to the government’s motion to vacate, no party had

asked that time be excluded pursuant to § 3161(h)(6), and indeed no party would have had occasion

to do so until the Second Superseding Indictment was returned on March 7, 2022. In other words,




15
       Ironically, on the same day that the Court made these findings, and after he objected to an
ends-of-justice continuance, Nordean filed an over-the-page limit motion to dismiss the indictment
that had the effect of tolling the Speedy Trial Clock for many months, independently of any
findings.
                                                15
        Case 1:21-cr-00175-TJK Document 342 Filed 04/19/22 Page 16 of 17




from the time of Nordean’s arrest until the Court granted the government’s motion to vacate the

May 22 trial date, none of the Speedy Trial Act exclusions were explicitly made pursuant to

subsection (h)(6), which was the focus of Theron’s holding that the “‘reasonable delay’ exclusion

of § 3161(h)[(6)] has a different meaning and application under § 3164 than under § 3161, because

of the different context in which it arises.” 782 F.2d at 1516. It was all—as laid out in the Speedy

Trial calculation above—covered by some combination of automatic tolling provisions and ends-

of-justice findings made pursuant to § 3161(h)(7)(A).

       Although no party made a request that time be tolled under 18 U.S.C. § 3161(h)(6) prior to

the government’s motion to vacate the trial date, that provision is generally the mechanism by

which motions filed by one defendant serve to toll the Speedy Trial clock as to other defendants

in the same case. See, e.g., United States v. Edwards, 627 F.2d 460, 461 (D.C. Cir. 1980). There

has been no suggestion of unreasonableness for any period of delay occasioned by motions filed

by the co-defendants in this case. For example, as laid out above, many of those motions

overlapped with motions Nordean himself filed; the trial could not be held prior to May 18

consistent with the Court’s health and safety guidelines; and the complexity of discovery in this

case was such that the case was not ready to proceed to trial by May 18 regardless of any of the

foregoing. Those facts are in stark contrast to those in Theron, which involved a defendant who

filed no motions and sought an immediate trial, in tandem with the government’s declaration that

it was ready to prosecute. See Theron, 782 F.2d at 1516. Accordingly, Theron is inapplicable to

these facts. Here, many of the days excluded in the Speedy Trial Act analysis were excluded

because of actions Nordean himself took, and those that weren’t, were excluded either under

§ 3161(h)(7)(A) or because of reasonable delay caused by actions taken by co-defendants. There

is accordingly no basis to release Nordean under 18 U.S.C. § 3164. See United States v. (Fawaz)



                                                16
        Case 1:21-cr-00175-TJK Document 342 Filed 04/19/22 Page 17 of 17




Yunis, 705 F. Supp. 33, 35 (D.D.C. 1989) (“Since the tolling provisions of the Act unquestionably

apply to delays resulting from the disposition of numerous pretrial motions and two interlocutory

appeals, it is clear that there has been no violation of the Speedy Trial Act”).

                                              CONCLUSION

               For the reasons stated above, as well as any others as may be cited at a hearing on

this motion, the defendant’s motion should be denied.

                                                      Respectfully submitted,

                                                      MATTHEW M. GRAVES
                                                      United States Attorney
                                                      DC Bar No. 481052

                                                      /s/ Erik M. Kenerson
                                                      ERIK M. KENERSON, OH Bar No. 82960
                                                      LUKE M. JONES, VA Bar No. 75053
                                                      JASON B.A. MCCULLOUGH
                                                      D.C. Bar No. 998006; NY Bar No. 4544953
                                                      Assistant United States Attorneys
                                                      555 4th Street, N.W.
                                                      Washington, D.C. 20530
                                                      (202) 252-7201
                                                      Erik.Kenerson@usdoj.gov




                                                 17
